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                         United States District Court
                             SOUTHERN DISTRICT OF CALIFORNIA


Natalia Tereshchenko; see attachment
                                                                 Civil Action No. 24cv2142-AGS-SBC

                                                  Plaintiff,
                                           V.
U.S. Immigration and Customs                                       JUDGMENT IN A CIVIL CASE
Enforcement; see attachment


                                                Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
On February 14, 2025, the Court held a motion hearing. For the reasons set out on the record,
defendants motion to dismiss (ECF 23 ) is granted in part, and this case is dismissed for lack of
jurisdiction. The case is hereby closed.




Date:          2/14/25                                              CLERK OF COURT
                                                                    JOHN MORRILL, Clerk of Court
                                                                    By: s/ M. Fujita
                                                                                       M. Fujita, Deputy
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                         United States District Court
                              SOUTHERN DISTRICT OF CALIFORNIA

                                           (ATTACHMENT)

                                                                   Civil Action No. 25cv0179-AGS-VET

Plaintiffs Cont.:

Natalia Tereshchenko; Akram Izomov; Anatolii Sukhomlinov; Iuliia Tsoi; Rano Zhalilova; Mikhail Lebedev;
Annna Babich; Zinatullin Timur; Ilia Kornilev; Nikolai Panov; Arkadii Avagimov; Liudmila Kaleva; Solovev
Ivan; Khoroshenkov Anton; Dmitrii Egorov; Elvira Farkova; Polina Guseva; Konstantin Lesnichev; Spartak
Arzumanian; Irina Bodleva; Dmitrii Olegovich Vlasov; Natalia Arefeva; Daniil Evstafev; Igor Ivakin;
Hovhannes Gasparyan; Aleksandra Tverskaia; Dinara Emelianova; Mariia Igna Tova; Arsenii Maloletkov;
Iuliia Korostelkina; Galina Smirenskaia; Pavel Stoliarov; Vladimir Chernev; Gaik Oganisian; Artur Minullin;
Olesia Minullina; Dmitri Zaporozhtsev; Kirill Gorbachev; Ivan Volobuev; Eva Noskova; Olga Noskova;
Oksana Teplykh; Dmitrii Sorokin; Garik Simonyan; Evgenii Chebuniaev; Fatima Khamidova; Sandro
Arakelovi-Khuchishvili; Maksim Slesarev; Aleksandr Andreev; Iana Ianitskaia; Elina Bugdaeva; Vladimir
Morozov; Andrei Frolov; Viktoriia Karmanova; Andrei Andriichuk; Iana Kim; Irina Ianova; Oleg Veliaev;
Adylbek Musabaev; Natalia Rudakova; Aleksei Ishimov; Iuliia Ikonnikova; Artem Konev; Ruslan
Mishchaniuk; Marina Gopak; Maksim Gopak; Natalia Piankova; Mark Beliaev; Aleksei Kovalko; Vasilisa
Kovalko; Boris Zatolokin; Marina Abdiusheva; Denis Andreev; Sergei Mikhalskii; Roman Volchkov; Mariia
Volchkova; Ayana Khairollina; Anton Iakushev; Ekaterina Bitiukova; Oleg Sadovnikov; Olga Zubkova;
Anastasiia Serzhantova; Arzhina Khandazhapova; Kseniia Maksimovna Ilina; Sopio Cheishvili; Artur
Gerasimov; Kseniia Gerasimova; David Viktor Ratkin; Aleksandr Bakin; Rustam Akhmadi; Aniuta
Muradian; Hakop Baboyan; Anton Darovskikh; Artem Kupriianov; Anastasiia Malozemova; Petroslav
Gorokhov; Mariia Dolbina; Abdirakhim Shamirov; Kholidakhon Shamirova; Angelina Minnigulova; Ramil
Askarov; Aleksandr Koskov; Musheg Ogannisian; Roman Lukyanchikov; Ruzikul Gayratovich Ruzikulov;
Anna Babchenko; Andrei Lundovskii; Ilona Dvinskikh; Luzia Yermoshkina; Artem Semenov; Polina
Ogurtsova; Tamar Mosidze; Kirill Plotnikov; Uliana Kuleshova; Olga Magdeeva; Egor Tarasov; Pavel
Korobkin; Elizaveta Korobkina; Ivan Korobkin; Igor Pavlov; Egor Ivanovich Donichev; Daria Donicheva;
Sofia Pavlova; Roman Musatov; Vitalii Nazimov; Kirill Baishurin; Arkadii Vyryshev; Eduard Bocharov;
Anton Baklanov; Maksim Diukin; Aleksandra Zosko; Bogdan Zosko; Natalia Usova; Igor Usov; Roman
Nikitenko; Armen Arsenyan; Farrukhjon Ibragimov; Kristina Erokhova; Nikita Kalinin; Marina Chikhradze;
Iusup Khamkhoev; Ivan Gonchar; Tseren Khantaev; Kosorukov Petr; Vladimir Legkii; Maksim Isakov;
Azamat Alikov; Nadezhda Ishimova; Shadiev Zafar Zaylobidinovich; Eremenko Igor; Khayrullo
Kholiralievich Alimatov; Alina Abdullina; Nargiza Ibraeva; Abduvahid Mannopov

Defendants Cont.:

U.S. Immigration and Customs Enforcement; Benjamine Huffman, Acting Secretary of United States
Department of Homeland Security; Donald Trump, President of the United States of America Caleb Vitello,
Acting Director of U.S. Immigration and Customs Enforcement; Rodney Scott, Acting Commissioner of U.S.
Customs and Border Protection
